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                EXHIBIT 38
     Case 2:18-cv-02545-KHV Document 624-16 Filed 05/02/22 Page 2 of 5


                                                            Pa ge 1                                                               Pa ge 3

 1          IN THE UNITED STATES DISTRICT COURT                         1                              E XHI BIT IN DEX
                 FOR THE DISTRICT OF KANSAS
 2                                                                      2

 3   LAMONTE MCINTYRE, et al.,         )                                3   Exhibit 118...............................Subpoena
                                       )
 4               Plaintiffs,           ) Case No.                       4   Exh ibi t 1 19. ... ... ... ... ... Arr owh ead Mi ddl e S cho ol
                                       ) 2:18-cv-02545
 5   v.                                ) KHV-KGG                        5   pho tos
                                       )
 6   UNITED GOVERNMENT OF              )                                6   Exh ibi t 1 20. ... ... ... ... ... ... ..D ona ld Ewi ng Pho to
     WYANDOTTE COUNTY AND              )
 7   KANSAS CITY, KS, et al.,          )                                7   Exhibit 121..................Neil Edgar, Jr. Photo
                                       )
 8               Defendants.           )                                8   ALS O I DEN TIF IED :

 9                                                                      9   Exh ibi t 2 4
          VIDEOTAPED DEPOSITION OF NEIL EDGAR, JR.
10                    October 26, 2021                                 10   Exh ibi t 8 0
             TAKEN ON BEHALF OF THE PLAINTIFFS
11                                                                     11   Exh ibi t 9 8

12                                                                     12

13                                                                     13

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                           (SEE INDEX PAGE 2)
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17   REPORTED BY DEBORAH A. MANEKE, CSR, RPR, CCR #615                 17

18                                                                     18
                         MANEKE REPORTING, INC.
19                        damaneke@charter.net                         19
                             (618) 692-0125
20                                                                     20

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                                                            Pa ge 2                                                               Pa ge 4

 1                                 IND EX                               1          IN THE UNITED STATES DISTRICT COURT
                                                                                        FOR THE DISTRICT OF KANSAS
 2                                                                      2

 3                                                       PA GE NO.      3   LAMONTE MCINTYRE, et al.,           )
                                                                                                                )
 4                                                                      4               Plaintiffs,             ) Case No.
                                                                                                                ) 2:18-cv-02545
 5   TIT LE PAG E.. ... ... ... ... ... ... ... ... ... ... ... ..1     5   v.                                  ) KHV-KGG
                                                                                                                )
 6   IND EX. ... ... ... ... ... ... ... ... ... ... ... ... ... ..2    6   UNITED GOVERNMENT OF                )
                                                                            WYANDOTTE COUNTY AND                )
 7   EXH IBI T I NDE X.. ... ... ... ... ... ... ... ... ... ... ..3    7   KANSAS CITY, KS, et al.,            )
                                                                                                                )
 8   DEP OSI TIO N L OCA TIO N I NFO RMA TIO N.. ... ... ... ... ..4    8               Defendants.             )

 9   APP EAR ANC ES. ... ... ... ... ... ... ... ... ... ... ... ..5    9

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11   EXA MIN ATI ONS :                                                 11   exa min ed on the 26 th day of Oc tob er, 20 21 bet wee n

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     Case 2:18-cv-02545-KHV Document 624-16 Filed 05/02/22 Page 3 of 5


                                                            Pa ge 37                                                                Pa ge 39

 1   nothing hard like crack cocaine or -- or meth or                   1   Townhomes?
 2   heroine or anything like that. I was raised up in                  2          A.    I don't know him.
 3   the suburbs. I'm not going to jump out the                         3          Q.    Right. But did you know that he owned
 4   suburbs and jump to a crack sack.                                  4   --
 5           Q.   Well, you said crack shack?                           5          A.    No. I did not.
 6           A.   Crack sack.                                           6          Q.    Okay. Do you remember learning that the
 7           Q.   Sack. That's like a crack house, drug                 7   Delavan Apartments were a place of drug activity
 8   house?                                                             8   in the mid-1990s?
 9           A.   Whatever you want to call it, man.                    9          A.    You said do I remember what?
10           Q.   Well, is that what you're referring to               10          Q.    That the Delavan Apartments or the
11   is --                                                             11   Delavan Townhomes were a place of drug activity --
12           A.   The product. You asked me if I sold                  12          A.    Oh, no, sir.
13   drugs.                                                            13          Q.    -- in the mid-1990s?
14           Q.   Right.                                               14          A.    No, sir.
15           A.   A crack sack.                                        15          Q.    Okay. And it's your testimony that you
16           Q.   Oh, a sack --                                        16   never did any work for Aaron Robinson?
17           A.   Yes, sir.                                            17          A.    I don't know -- I don't -- I don't know
18           Q.   -- as a package of -- I'm sorry. I                   18   him.
19   heard -- I misheard you. Okay. You never sold                     19          Q.    Okay. Because what's been -- just to
20   crack?                                                            20   lay it out there, what's been said about you is --
21           A.   I'm not saying that. I didn't sell it                21   is that you were one of Aaron Robinson's
22   when I was 15 and 16.                                             22   protectors or enforcers in the mid-1990s. Any
23           Q.   Okay. When did you start selling crack?              23   truth to that?
24           A.   Probably 18, 19.                                     24          A.    No, sir.
25           Q.   Okay. Do you remember a drug house                   25          Q.    Okay. And what's been said is -- is if



                                                            Pa ge 38                                                                Pa ge 40

 1   located at 2814 North Second Street, Kansas City,                  1   somebody needed to be harmed or hurt or killed
 2   Kansas?                                                            2   that Robinson would ask you, among other people,
 3           A.   No, sir.                                              3   to do that, and you would do that.
 4           Q.   Did you ever -- did you ever work at a                4          A.    Wow.
 5   drug house, any drug house?                                        5          Q.    True?
 6           A.   No, sir.                                              6          A.    No, sir.
 7           Q.   Okay. And, again, I'm asking you this                 7          Q.    Nothing about that. Okay.
 8   because that's what people have testified to.                      8          A.    This is sad.
 9           A.   Right.                                                9          Q.    Again, I'll get through this, but the --
10           Q.   And so I'm -- I'm -- it's my -- it's my              10   the -- you understand why I'm asking you these
11   only opportunity to ask you the truth about those                 11   questions?
12   things that other people have said.                               12          A.    It's -- it's sad, man.
13           A.   I understand.                                        13          Q.    What's sad?
14           Q.   Okay. Do you remember -- do you                      14          A.    You -- you -- this whole case is sad.
15   remember the -- the Delavan Apartments or the                     15   It's sad for Lamonte. It's sad for the victims.
16   Delavan Townhomes near North 27th Street in Kansas                16   It's sad for me because you got this guy steady
17   City, Kansas?                                                     17   saying that I'm the shooter, but I've never -- I
18           A.   Yes, sir.                                            18   don't know this guy.
19           Q.   Did you ever hang out there?                         19          Q.    Did --
20           A.   No, sir.                                             20          A.    It's sad. I mean y'all --
21           Q.   Did you ever sell drugs in that                      21          Q.    Did -- Did you know Lamonte McIntyre?
22   neighborhood?                                                     22          A.    No. I've never seen the guy in my life.
23           A.   No, sir.                                             23          Q.    Have you ever communicated with him?
24           Q.   Did you understand that Cecil Brooks                 24          A.    I've never seen him in my life.
25   owned the Delavan Apartments, the Delavan                         25          Q.    I know. My -- have you ever
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                                                           Pa ge 41                                                                Pa ge 43

 1   communicated with --                                              1         A.     It's -- it's -- it's all in the
 2         A.     I've never spoke to him in my life.                  2   paperwork. We don't have to -- you know, we don't
 3         Q.     Okay.                                                3   have to go -- It is what it is.
 4         A.     I've never seen him until I seen him on              4         Q.     Okay. But you murdered him; correct?
 5   the news, you know, and it's -- it was sad.                       5         A.     Yes, sir.
 6   It's -- it's sad, you know what I'm saying;                       6         Q.     All right. And you were with someone
 7   because if he didn't do it, it's -- it's                          7   named Emmanuel Sanders at the time; correct, whose
 8   tremendously sad, you know, but it's even sadder                  8   street name was -- was E?
 9   when he point the finger at the next person and so                9         A.     I don't -- I don't -- I don't have
10   he want the -- he want the cycle to repeat what                  10   nothing to do with Emmanuel or none of that. I
11   happened to him; you know, you guys been trying --               11   can only tell you about me. I can't tell you
12   you guys been putting this burden on me since                    12   about nobody else.
13   2010; you know what I'm saying, and I can't -- can               13         Q.     Well, do you -- do you remember being
14   you imagine carrying this for the last 11 years if               14   with Emmanuel Sanders at -- at the murder of
15   people say that you killed two people and you                    15   Anthony Conley?
16   actually didn't? The crime that I committed that                 16         A.     I'm not -- I'm not about to answer that.
17   put me here, I stood up as a man, and I said I did               17         Q.     You're -- you're refusing --
18   this, and I accepted my accountability.                          18         A.     That case is closed.
19         Q.     And I --                                            19         Q.     Okay. Well, you -- you mention it, and
20         A.     Nothing in my past -- my past doesn't               20   we just have to get it on the record. You're
21   have no record, no -- no pattern to support what                 21   refusing to answer the question about whether
22   this guy is saying; yet all y'all believing it.                  22   Emmanuel Sanders was with you at the murder of
23         Q.     We have to -- we have to answer -- ask              23   Anthony Conley --
24   you these questions.                                             24         A.     That case is closed. I already took my
25         A.     I understand that.                                  25   accountability for that case.


                                                           Pa ge 42                                                                Pa ge 44

 1         Q.     Because --                                           1         Q.     Okay. So you're --
 2         A.     But the information --                               2         A.     I'm just -- I'm just -- when I was
 3         Q.     Because these --                                     3   speaking with that, I was saying my pattern. I'm
 4         A.     -- that you have gotten, the information             4   using it as an example of my pattern of --
 5   about me, none of it is supporting what this guy                  5         Q.     Okay.
 6   is saying. Y'all telling me what a man is saying                  6         A.     -- who I am.
 7   that I don't even know, but if you go back, and                   7         Q.     I understand, and that's why I need to
 8   you go through Neil Edgar, Junior history, my                     8   ask you about it. Mr. Conley was -- was dragged
 9   history doesn't support who he's saying I am.                     9   out of the back of his home after --
10         Q.     Okay. Well, let's -- let's talk about               10         A.     I'm not about to answer that.
11   Anthony Conley's murder just so we -- we have this               11         Q.     Okay. You -- you doused Mr. Conley --
12   on the record, and this -- you -- you rightfully                 12         A.     I'm not about to answer that.
13   said that you -- you stood up.                                   13         Q.     Well, let me just ask the question. And
14         A.     Exactly.                                            14   did you --
15         Q.     And took -- and took the rap for this.              15         A.     I'm not about to answer none of that.
16         A.     My -- no. I took my accountability.                 16         Q.     And that's fine. Let me -- let me ask
17         Q.     Right.                                              17   the question and then you can say --
18         A.     Right.                                              18         A.     I'm not about to answer none of that.
19         Q.     Yeah.                                               19   It's -- it -- for what? That case has nothing to
20         A.     I didn't take the rap. I took my                    20   with this.
21   accountability for my actions.                                   21         Q.     I have to make a record, Mr. Edgar, so I
22         Q.     Right. And so we have it on the record,             22   can ask -- here's the way it should work: I'll
23   Mr. Conley -- you shot Mr. Conley three times in                 23   ask you the question. If you don't want to answer
24   the head at his residence at 6615 Brooklyn in                    24   it, you can say you're refusing to answer it.
25   Kansas City, Missouri; correct?                                  25         A.     Yes, sir.
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                                                           Pa ge 45                                                               Pa ge 47

 1         Q.     But let's get a record clear on this.                1   jail, so I wouldn't know none of the police that's
 2   So Mr. Conley's body was dragged out of the back                  2   in Kansas City, Kansas.
 3   of his home at 6615 Brooklyn in Kansas City,                      3            Q.   Okay. And, again, just to be clear,
 4   Missouri; correct? If you don't want to answer,                   4   we're not saying that he worked in the jail, that
 5   or you're refusing to answer, say you're refusing                 5   he was -- he was a detective on the police force.
 6   to answer.                                                        6            A.   I don't -- I've never been in Kansas
 7         A.     You're correct.                                      7   City, Kansas jail, so I don't know none of the
 8         Q.     You dowsed Mr. Conley's body with                    8   polices.
 9   gasoline?                                                         9            Q.   Okay. Have you -- have you ever heard
10         A.     Correct.                                            10   the name, Roger Golubski?
11         Q.     Okay. And -- and then Mr. Conley's body             11            A.   No, sir.
12   was put into his trunk of his car and driven to 56               12            Q.   What has been said was is that Lamonte
13   and Elmwood in Kansas City, Kan -- Kansas City,                  13   McIntyre was framed for the murder of Ewing and
14   Missouri; correct?                                               14   Quinn that took place on April 15th, 1994 because
15         A.     Correct.                                            15   Golubski covered up that murder for Cecil Brooks
16         Q.     And you ordered Emmanuel Sanders to --              16   and Aaron Robinson; okay?
17   to light the car on fire including Mr. --                        17            A.   Yeah. I don't know nothing about it.
18   Mr. Conley's body; correct?                                      18            Q.   All right. So Cecil Brooks is lying in
19         A.     Correct.                                            19   this affidavit; correct?
20         Q.     Okay. There is -- well, just to finish              20            A.   Him and everybody else.
21   on Marlon Williams, what's been -- been said about               21            Q.   When you say, everybody else, who else?
22   you was is that -- that after you committed the                  22            A.   The media, the news reporters, you guys
23   murders on April 15th, 1994, Marlon Williams drove               23   if y'all believe him.
24   you away in a dark blue Oldsmobile; true?                        24            Q.   And -- and when you're saying that
25         A.     No, sir.                                            25   they're lying is about -- lying about your



                                                           Pa ge 46                                                               Pa ge 48

 1         Q.     Okay.                                                1   involvement in the -- in the murders of Quinn
 2         A.     This is sad.                                         2   and --
 3         Q.     Do you -- and what has been said is                  3            A.   Exactly.
 4   that -- well, let me -- let me start here: Do you                 4            Q.   -- Ewing?
 5   know a Kansas City, Kansas police detective, a                    5            A.   I don't know them.
 6   former Kansas City -- Kansas City police detective                6            Q.   All right.
 7   named Roger Golubski?                                             7            A.   I've never been around them.
 8         A.     I've never been in Kansas City, Kansas               8            Q.   Did you ever -- do you know a woman
 9   County Jail, so no, I do not know him.                            9   named Ruby Mitchell?
10         Q.     Well, I'm not saying that Mr. Golubski              10            A.   No, sir.
11   worked in the jail.                                              11            Q.   And she lived -- just to give you some
12         A.     I'm saying that because in order for me             12   context, she lived on that 3000 block of Hutchings
13   to know any police that's in Kansas City, Kansas,                13   in Kansas City, Kansas.
14   I would have at least went to the county jail or                 14            A.   I don't know nothing about that.
15   something, so I've never been -- I've never been                 15            Q.   Okay. What about a woman named Niko
16   apprehended or nothing in Kansas City, Kansas.                   16   Quinn?
17         Q.     Okay.                                               17            A.   I don't know her.
18         A.     To be familiar with any of the officers.            18            Q.   You don't know that name?
19         Q.     I see. I'm with you. Okay. And I just               19            A.   No, sir.
20   didn't want you to get confused. We weren't                      20            Q.   Okay. You never --
21   saying that Mr. -- that Detective Golubski worked                21            A.   I don't know her.
22   at the jail. He was -- he was --                                 22            Q.   Don't know her --
23         A.     I don't know.                                       23            A.   I don't know her.
24         Q.     Okay.                                               24            Q.   Right. Have you --
25         A.     Like I say, I've never been in that                 25            A.   I've never heard of her prior to the
